Case 4:11-cr-00173-GKF Document 91 Filed in USDC ND/OK on 05/08/17 Page 1 of 4




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )
                                                  )
v.                                                )       Case No. 11-CR-173-GKF
                                                  )       Case No. 17-CV-157-GKF-TLW
JIMMY E. MORRISETT,                               )
                                                  )
                       Defendant.                 )


                                              ORDER

       Before the court is the Motion to Dismiss Defendant’s § 2255 Motion [Doc. No. 85] filed

by plaintiff United States of America. For the reasons set forth below, the motion is granted.

                                    I. Procedural Background

       On March 27, 2013, defendant Jimmy E. Morrisett (“Morrisett”) pled guilty to violating

18 U.S.C. § 1957(a) (Engaging in Unlawful Monetary Transaction). [Doc. No. 54]. To that end,

the court sentenced Morrisett to 108 months’ imprisonment and ordered him to pay restitution in

the amount of $6,874,135.44. [Doc. No. 67, pp. 2, 5]. As part of his plea agreement, Morrisett

agreed “not to contest [the] forfeiture of the assets set forth in [an] attached Consent and

Stipulation” and expressly waived any “right to collaterally attack [his] conviction and sentence

pursuant to 28 U.S.C. § 2255.”1 [Doc. No. 54, pp. 3, 7–8]. Morrisett now moves to vacate his

sentence, arguing that the government’s seizure of assets unrelated to criminal conduct deprived

him of his counsel of choice.




1
  The agreement did not waive post-conviction relief under § 2255 for claims based on
ineffective assistance of counsel.
Case 4:11-cr-00173-GKF Document 91 Filed in USDC ND/OK on 05/08/17 Page 2 of 4




                                          II. Timeliness

       Federal law establishes a one-year limitations period for habeas motions. See 28 U.S.C. §

2255(f) (“A 1-year period of limitation shall apply to a motion under this section.”). Generally,

that clock begins running from the date on which a judgment of conviction becomes final. See

id. § 2255(f)(1). However, the limitations period is extended where a new right is made

retroactively applicable by the Supreme Court. See id. § 2255(f)(3). In such cases, the one-year

limitations clock runs from “the date on which the right asserted was initially recognized.” See

id. That affords “prisoners an opportunity to bring [previously unknown] claims.” See United

States v. Crisp, 573 Fed. App’x 706, 709 (10th Cir. 2014).

       Here, Morrissett’s motion is untimely. The court entered judgment in Morrisett’s case on

September 12, 2013. [Doc. No. 67]. Thus, under § 2255(f)(1), his claim expired on May 12,

2014. Morrisett seeks an extension of the limitations period in light of Luis v. United States, 136

S.Ct. 1083 (2016), which held that the government violates the Sixth Amendment by executing a

pretrial seizure of untainted assets needed to retain a defendant’s counsel of choice. But at

present, Luis is not retroactively applicable. See 28 U.S.C. § 2255(f)(3). And even if it was,

Luis does not govern Morrisett’s claim—here, Morrisett concedes that his assets were “subject to

forfeiture, pursuant to 18 U.S.C. § 981(a)(1)(A) and/or 981(a)(1)(C), for the reasons stated in

the” forfeiture complaint. [Doc. No. 54-3, p. 18]; see also [id. at 26–28]. Accordingly,

Morrisett’s motion—filed on March 27, 2017—must be dismissed as untimely.

                                           III. Waiver

       Morrisett also waived any right to challenge his conviction, sentence, or forfeiture under

§ 2255. “[A] waiver of collateral attack rights brought under § 2255 is generally enforceable

where the waiver is expressly stated in the plea agreement and where both the plea and the



                                                 2
Case 4:11-cr-00173-GKF Document 91 Filed in USDC ND/OK on 05/08/17 Page 3 of 4




waiver were knowingly and voluntarily made.” United States v. Cockerham, 237 F.3d 1179,

1183 (10th Cir. 2001). Here, Morrisett expressly agreed “not to contest [the] forfeiture of the

assets set forth in [an] attached Consent and Stipulation” and to waive any “right to collaterally

attack [his] conviction and sentence pursuant to 28 U.S.C. § 2255.” [Doc. No. 54, pp. 3, 7–8];

see also [id. at 8] (waiving “all constitutional and statutory challenges in any manner (including

direct appeal, habeas corpus, and any other means) to any forfeiture carried out in accordance

with this plea agreement on any grounds”). He signed his name beneath the appellate and post-

conviction waivers, and initialed each page of the plea agreement. [Doc. No. 54, pp. 1–17]. The

agreement also contained a separately signed acknowledgment that Morrisett reviewed it and

voluntarily consented. [Id. at 18].

       The forfeiture challenge contained in Morrisett’s § 2255 motion falls squarely within the

scope of those waivers. See United States v. Morrison, 415 F. App’x 860, 862–63 (10th Cir.

2011) (unpublished). And nothing suggests enforcement of the waivers would result in a

miscarriage of justice. See United States v. Viera, 674 F.3d 1214, 1219 (10th Cir. 2012)

(explaining that a miscarriage of justice occurs when: (1) the court considers an impermissible

factor in sentencing; (2) ineffective assistance of counsel rendered a waiver invalid; (3) a

sentence exceeds the statutory maximum; or (4) the waiver is otherwise unlawful). Importantly,

while Morrisett argues the government’s actions prevented him from retaining his counsel of

choice, he does not argue that his attorneys—Stephen J. Knorr and John Russell—rendered

ineffective assistance of counsel.

                                 IV. Certificate of Appealability

       Rule 11 commands a district court to “issue or deny a certificate of appealability when it

enters a final order adverse to the applicant.” Such certificate may issue “only if the applicant



                                                 3
Case 4:11-cr-00173-GKF Document 91 Filed in USDC ND/OK on 05/08/17 Page 4 of 4




has made a substantial showing of the denial of a constitutional right.” 28 U.S.C. § 2253. That

standard may be met by showing the issues presented are debatable among jurists or warrant

further proceedings. See Slack v. McDaniel, 529 U.S. 473, 483 – 84 (2000) (citing Barefoot v.

Estelle, 463 U.S. 880, 893 (1983)). Moreover, with respect to a procedural ruling, a claimant

must show “that jurists of reason would find it debatable whether the district court was correct in

its procedural ruling. Slack, 529 U.S. at 484. Neither standard is met here. Nothing suggests the

court’s limitations or waiver rulings are debatable.

       WHEREFORE, the Motion to Dismiss Defendant’s § 2255 Motion [Doc. No. 85] is

granted.

       IT IS SO ORDERED this 8th of May, 2017.




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